          Case 1:20-cv-07079-CM
          Case 1:20-cv-07079-CM Document 12 Filed
                                Document 11 Filed 10/15/20
                                                  10/20/20 Page
                                                           Page 1
                                                                1 of
                                                                  of 1
                                                                     1



 October 15, 2020

 VIA ECF FILING . .

 Hon. Colleen McMahon
 Daniel Patrick Moynihan United States Courthouse
 500 Pearl Street, Room 24A
 New York, NY 10007

Re :   Swafford v. Generali U.S. Branch et. al.,
       Case No 1:20-cv-07079-CM

Dear Judge McMahon:

         Pursuant to Section 1.0 of Your Honor's Individual Rules and Practices and Local Rule
7. l(d), Plaintiff Mark Swafford ("Plaintiff') and Defendants Generali U.S. Branch and Generali
Global Assistance, Inc. (collectively, "Defendants," and together with Plaintiff, the "Parties"),
respectfully request that this Court extend all deadlines, including the initial conference and case
management plan, and stay the proceedings in this matter until 28 days after the Judicial Panel on
Multidistrict Litigation ("JPML") rules on the pending motion for transfer and consolidation or
coordination pursuant to 28 U.S.C. § 1407. Judge Caproni is hearing a similar case and issued
such a stay sua sponte. See Morris v. Assicurazioni Group, Sp.A. et al., No . 20-cv-04430-VEC,
ECF #24. The Parties agree that the requested extension and a stay of all proceedings until 28
days after the JPML rules will avoid the potentially unnecessary use of judicial and party resources
if the action is transferred. The Parties further agree that a stay will not prejudice any party in this
matter.

Dated: October 15, 2020                                 Respectfully submitted,

Isl Joseph P. Guglielmo (with consent)                 Isl Christopher J Houpt
Joseph P. Guglielmo                                    Christopher J. Houpt
Scott+Scott Attorneys at Law, LLP                      MA YER BROWN LLP
230 Park A venue, 17th Floor                           12221 Avenue of the Americas
New York, NY 10169                                     New York, NY 10020-1001
Tel: (212) 223 -6334                                   Tel: (212) 506-2500
Fax: (212) 223-6334                                    Fax: (212) 849-5830
jguglielmo@scott-scott.com                             choupt@mayerbrown.com

Counsel for Plaintiff                                   Counsel for Defendants




                                                   USDCSDN'Y
                                                   DOCUMENT
                                                    ELECTRONICALLY FILED
                                                    DOC#:                 t i
                                                    DATE FILFT.1•      IC? ~d()JC
